                 Case 19-50256-BLS            Doc 1      Filed 06/03/19        Page 1 of 15




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:
                                                                       Chapter 7
JEVIC HOLDING CORP., et al., 1
                                                                       Case No. 08-11006 (BLS)
                          Debtors.                                     (Jointly Administered)


THE CIT GROUP/BUSINESS CREDIT, INC., as agent
for itself and the Lender Group,

                            Plaintiff,

                 v.

JEVIC HOLDING CORP.; JEVIC TRANSPORTATION,
INC.; CREEK ROAD PROPERTIES, LLC; GEORGE L.
MILLER, solely in his capacity as Chapter 7 Trustee of the
bankruptcy estates of Jevic Holding Corp., et al.;
                                                                       Adv. Pro. No. _____________
THE GOODYEAR TIRE & RUBBER CO.;
ACTION CALENDAR & SPECIALTY CO., INC.;
IRVING OIL CORPORATION; HARTFORD FIRE
INSURANCE COMPANY; THE ILLUMINATING
COMPANY; PITNEY BOWES GLOBAL FINANCIAL
SERVICES, LLC; WILLIAMS SCOTSMAN, INC.;
SUNGARD AVAILABILITY SERVICES LP;
PACHULSKI STANG ZIEHL & JONES LLP; MORRIS
ANDERSON & ASSOCIATES; and KLEHR,
HARRISION, HARVEY, BRANZBURG & ELLERS
LLP,

                            Defendants.


     COMPLAINT FOR (I) DECLARATORY RELIEF AND (II) RESTITUTION OF
      CERTAIN FUNDS DISTRIBUTED UNDER VACATED APPROVAL ORDER

         The CIT Group/Business Credit, Inc. (“CIT”), as agent for itself and BMO Harris Bank

N.A., Bank of America, N.A., PNC Bank, National Association, and Wells Fargo Capital

1
  The Debtors in this Chapter 11 case, along with the last four digits of the Debtors’ federal tax identification
numbers are: Jevic Holding Corp. (8738); Creek Road Properties, LLC (9874); and Jevic Transportation, Inc.
(3402).




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                Case 19-50256-BLS          Doc 1     Filed 06/03/19   Page 2 of 15




Finance (together with CIT in its capacity as lender, the “Lender Group”), by and through its

undersigned counsel, Reed Smith LLP, files this Complaint for (i) Declaratory Relief and

(ii) Restitution of Certain Funds Distributed Under Vacated Approval Order.

                   JURISDICTION, VENUE AND NATURE OF MATTER

       1.       This Court has jurisdiction over this Complaint pursuant to 28 U.S.C. §§ 157

and 1334, and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012.

       2.       Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.       Each of the claims set forth in this adversary proceeding (the “Adversary

Proceeding”) is a “core” proceeding pursuant to 28 U.S.C. § 157(b).

       4.       Pursuant to Rule 7008-1 of the Local Rules of Bankruptcy Practice and Procedure

for the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”),

CIT consents to the entry of a final judgment or order by the Bankruptcy Court.

                                           THE PARTIES

       5.       CIT is a New York corporation with a place of business at 11 West 42nd Street in

New York, New York. CIT is the plaintiff in this Adversary Proceeding.

        6.      Defendant Jevic Transportation, Inc. (“Jevic Transportation”) is a corporation

organized under the laws of the state of New Jersey.

        7.      Defendant Jevic Holding Corp. (“Jevic Holding”) is a corporation organized

under the laws of the state of Delaware.

        8.      Defendant Creek Road Properties, LLC (“Creek Road” and together with Jevic

Transportation and Jevic Holding, the “Debtors”) is a limited liability company organized under

the laws of the state of Ohio.




                                               -2-
                Case 19-50256-BLS         Doc 1    Filed 06/03/19      Page 3 of 15




        9.      The Debtors’ chapter 7 bankruptcy cases are jointly administered under Case #08-

11006 (Jointly Administered).

        10.     Defendant George L. Miller (the “Trustee”) is the chapter 7 trustee of the

Debtors’ bankruptcy estates.

        11.     Defendant Goodyear Tire & Rubber Co. (“Goodyear”) is a corporation organized

under the laws of the state of Ohio with, upon information and belief, its principal place of

business located in Akron, Ohio.

        12.     Defendant Action Calendar & Specialty Co., Inc. (“Action”) is a corporation

organized under the laws of the state of New Jersey with, upon information and belief, its

principal place of business located in Delran, New Jersey.

        13.     Defendant Irving Oil Corporation (“Irving Oil”), now known as Highlands Fuel

Delivery, LLC, is a limited liability company organized under the laws of the state of Maine with,

upon information and belief, its principal place of business located in Portsmouth, New

Hampshire.

        14.     Defendant Hartford Fire Insurance Company (“Hartford”) is a company organized

under the laws of the state of Connecticut with, upon information and belief, its principal place of

business located in Hartford, Connecticut.

        15.     Defendant Illuminating Company (“Illuminating”) is a company organized under

the laws of the state of Ohio with, upon information and belief, its principal place of business

located in Cleveland, Ohio.

        16.     Defendant Pitney Bowes Global Financial Services, LLC (“Pitney Bowes”) is a

limited liability company organized under the laws of the state of Delaware with, upon

information and belief, its principal place of business located in Shelton, Connecticut.




                                                -3-
                Case 19-50256-BLS         Doc 1     Filed 06/03/19    Page 4 of 15




        17.     Defendant William Scotsman, Inc. (“Scotsman“) is a corporation organized under

the laws of the state of Delaware with, upon information and belief, its principal place of business

located in Baltimore, Maryland.

        18.     Defendant Sungard Availability Services LP (“Sungard”) is a limited partnership

organized under the laws of the state of Pennsylvania with, upon information and belief, its

principal place of business located in Wayne, Pennsylvania.

        19.     Defendant Pachulski Stang Ziehl & Jones LLP (“PSZ&J”) is a limited liability

partnership organized under the laws of the state of California with, upon information and belief,

its principal place of business located in Los Angeles, California.

        20.     Defendant Morris Anderson & Associates (“Morris Anderson”) is a corporation

organized under the laws of the state of Illinois with, upon information and belief, its principal

place of business located in Chicago, Illinois.

        21.     Defendant Klehr Harrison Harvey Branzburg LLP (“KHHB” and together with

PSZ&J and Morris Anderson, the “Estate Professionals”) is a limited liability partnership

organized under the laws of the state of Pennsylvania with, upon information and belief, its

principal place of business located in Philadelphia, Pennsylvania.

                                         BACKGROUND

        22.     On May 20, 2008 (the “Petition Date”), the Debtors commenced their respective

bankruptcy cases by filing voluntary petitions for relief under title 11 of the United States Code

(the “Bankruptcy Code”).

        23.     Prior to the Petition Date, the Debtors operated a hybrid less-than-truckload and

truckload carrier that provided regional and inter-regional time definite delivery across the

United States and parts of Canada.




                                                  -4-
                Case 19-50256-BLS         Doc 1    Filed 06/03/19     Page 5 of 15




       24.      The Debtors began operations in 1981, had an initial public offering in 1997, and

were acquired by Yellow Corporation in 1999. In 2002, the Jevic business was spun off to form

SCS Transportation. In June 2006, Sun Transportation, LLC (“STL”), which is owned by Sun

Capital Partners, IV, acquired the Debtors.

       25.      As of the Petition Date, the Debtors were borrowers under a secured credit

agreement (the “Prepetition Facility”) dated as of July 28, 2006, with CIT, as agent, and the other

lenders in the Lender Group.

       26.      After the Petition Date, all of the Debtors’ tangible assets were liquidated, and the

proceeds were used to repay the outstanding obligations owed under the Prepetition Facility,

which had been “rolled up” into the DIP financing facility. See Final Order (i) Authorizing

Debtors-in-Possession to Obtain Senior Debtor in Possession Financing; (ii) Granting Liens,

Security Interest, and Super Priority Status; (iii) Authorizing Use of Cash Collateral; and (iv)

Affording Adequate Protection to Prepetition Lenders entered on June 20, 2008 [Docket No.

118] (the “Final DIP Financing Order”).

      A.        Committee Adversary Proceeding Against CIT and Sun

       27.      Pursuant to the Final DIP Financing Order, on December 31, 2008, the Official

Committee of Unsecured Creditors (the “Committee”) commenced an adversary proceeding by

filing a complaint against CIT. See Adv. Pro. No. 08-51903(BLS) (the “Committee Adversary

Proceeding”).

       28.      In the Committee Adversary Proceeding, the Committee alleged claims against

CIT relating to Sun’s acquisition of the Debtors pursuant to a “leveraged buyout.”




                                                -5-
               Case 19-50256-BLS          Doc 1     Filed 06/03/19      Page 6 of 15




       29.     On June 30, 2010, the Committee amended the complaint to join Sun Capital

Partners IV, LP, Sun Capital Partners Management IV, LLC, and Sun Capital Partners, Inc.

(collectively, “Sun”) as defendants and to assert claims against such entities.

       30.     On September 15, 2011, the Bankruptcy Court granted in part and denied in part a

motion to dismiss the Committee Adversary Proceeding. See Opinion at Docket No. 40, Adv.

Pro. No. 08-51903(BLS) (hereafter referred to as the “Dismissal Opinion”).

       31.     After entry of the Dismissal Order, on October 7, 2011, the Committee filed a

second amended complaint against CIT and Sun.

      B.       The Settlement Agreement and Bankruptcy Court Approval

       32.     Subject to Bankruptcy Court approval, the Debtors, the Committee, Sun, and CIT

entered into a Settlement Agreement and Release dated as of June 22, 2012 (the “Settlement

Agreement”).

       33.     On December 4, 2012, over the objection of certain former employees of the

Debtors (the “WARN Plaintiffs”),2 the Bankruptcy Court entered an Order Granting Joint

Motion of the Debtors, CIT, Sun Capital and the Official Committee of Unsecured Creditors for

Entry of an Order: (I) Approving Settlement Agreement and Releasing Claims; (II) Dismissing




2
   The WARN Plaintiffs objected to the Settlement Agreement by filing, on July 25, 2012, the
Memorandum of Law in Opposition to the Joint Motion of the Debtors, CIT, Sun Capital, and the Official
Committee of Unsecured Creditors Pursuant to 11 U.S.C. §§ 105(a), 349 and 1112(b) and Fed. R. Bankr.
P. 9019 for Entry of an Order: (I) Approving Settlement Agreement and Releasing Claims; (II)
Dismissing the Debtors' Cases Upon Implementation of Settlement; and (III) Granting Related Relief
[Docket No. 1396], and, on November 7, 2012, the Objection In Opposition to the Supplement to (1) Joint
Motion of Debtors, CIT, Sun Capital, and Official Committee of Unsecured Creditors for Entry of Order
(I) Approving Settlement Agreement and Releasing Claims; (II) Dismissing Debtors' Cases Upon
Implementation of Settlement; and (III) Granting Related Relief; and (2) Debtors' Motion for Entry of
Order (A) Authorizing Extension of Use of Cash Collateral, and (B) Granting Adequate Protection [D.I.
1479].




                                                 -6-
                 Case 19-50256-BLS              Doc 1      Filed 06/03/19        Page 7 of 15




the Debtors’ Cases Upon Implementation of Settlement; and (III) Granting Related Relief (the

“Approval Order”) [D.I. 1520].3

        34.      A true and correct copy of the Approval Order is attached as Exhibit A.

        35.      The Approval Order authorized the Debtors’ entry into the Settlement Agreement.

See Approval Order ¶ 2.

        36.      The Approval Order provided, in part, as follows:

                 Within ten (10) business days after the Effective Date . . . of the
                 Settlement Agreement (the “Effective Date”), the following shall occur
                 simultaneously:

                 (a) CIT shall pay to the Debtors $2,000,000 (the “Administrative Claim
                 Fund”);

                 (b) The Committee, CIT and Sun shall file with the Court a fully executed
                 stipulation of dismissal with prejudice, substantially in the form of Exhibit
                 2 to the Settlement Agreement;

                 (c) The releases set forth in paragraph 2(c) of the Settlement Agreement
                 shall become effective upon payment of the Administrative Claim Fund to
                 the Debtors; and

                 (d) The Estate Releasing Parties, as such term is defined in the Settlement
                 Agreement, shall execute and deliver to CIT releases in favor of the other
                 members of the Lender Group, as such term is defined in the Settlement
                 Agreement, in the form attached as Exhibit 3 to the Settlement Agreement,
                 and such releases shall be effective upon payment of the Administrative
                 Claim Fund to the Debtors.

See Approval Order ¶ 4(a)-(d).

        37.      None of the Defendants in this Adversary Proceeding would have been paid but

for the Administrative Claim Fund funded by CIT pursuant to the Settlement Agreement because

the Debtors had no funds to pay their administrative claims. See Joint Motion for Entry of an


3
 Capitalized terms used and not defined in this Complaint shall have the meanings ascribed to such terms in the
Approval Order.




                                                       -7-
                 Case 19-50256-BLS        Doc 1    Filed 06/03/19    Page 8 of 15




Order: (I) Approving Settlement Agreement and Releasing Claims; (II) Dismissing the Debtors’

Case upon Implementation of Settlement; and (III) Granted Related Relief (the “Settlement

Motion”) [D.I. 1346] ¶ 13 (“there are no available assets to pay outstanding administrative,

priority or general unsecured claims at this time”).

       38.       A true and correct copy of the Settlement Motion is attached as Exhibit B.

       39.       The Approval Order provided for the payment of Estate Professionals and other

holders of allowed administrative claims using the Administrative Claim Fund. See Approval

Order ¶¶ 8-10.

       40.       The Approval Order provided that, “[u]pon payment of the Administrative Claim

Fund to the Debtors, the Debtors shall pay the aggregate sum of $200,000 from the

Administrative Claim Fund to the professionals retained by the Committee on account of

previously approved and unpaid fees and expenses.” See Approval Order ¶ 8.

       41.       Moreover, Exhibit A to the Certification (defined below) listed certain

administrative tax and 11 U.S.C. § 503(b)(9) claims totaling $328,281.65 to be paid with the

Administrative Claim Fund. Of that total, this Complaint seeks $231,604.73 from the named

Defendants.

       42.       As the Administrative Claim Fund was to be used to pay all “unpaid professional

fees, as well as all allowed 503(b)(9) Claims and Admin taxes,” Settlement Motion ¶ 15, the

balance of the Administrative Fund was to be used only to pay the administrative claims of

professionals (including the Estate Professionals) for previously awarded attorneys’ fees and

expenses.




                                                -8-
               Case 19-50256-BLS           Doc 1   Filed 06/03/19    Page 9 of 15




         43.   Upon payment in full of the allowed administrative claims, the Debtors and the

Committee were required to file with the Bankruptcy Court a certification that administrative

claims had been paid in full. See Approval Order ¶ 11; Settlement Motion, Exh. C.

         C.    Denial of Stay Pending Appeal and Consummation of the Settlement
               Agreement

         44.   On December 18, 2012, the WARN Plaintiffs filed an appeal of the Approval

Order to the United States District Court for the District of Delaware (the “District Court”). The

WARN Plaintiffs also sought, in the Bankruptcy Court, a stay of the Approval Order pending

resolution of the appeal. The Bankruptcy Court denied the WARN Plaintiffs’ request for a stay

pending appeal. The WARN Plaintiffs did not request a stay pending appeal from the District

Court.

         45.   After the denial of the WARN Plaintiffs’ request for a stay, CIT paid the

Administrative Claim Fund to the Debtors’ estates, and the Administrative Claim Fund was

distributed to administrative claimants.

         46.   On October 11, 2013, pursuant to paragraph 11 of the Approval Order, the

Debtors and the Committee filed the Certification of Counsel Regarding Satisfaction of

Conditions in Order Approving Joint Motion of the Debtors, CIT, Sun Capital and the Official

Committee of Unsecured Creditors Pursuant to 11 U.S.C. Section 105(a), 349 and 1112(b) and

Fed. R. Bankr. P. 9019 for Entry of an Order: (I) Approving Settlement Agreement and

Releasing Claims; (II) Dismissing the Debtors’ Cases Upon Implementation of Settlement; and

(III) Granting Related Relief (the “Certification”) [D.I. 1741].

         47.   A true and correct copy of the Certification is attached as Exhibit C.

         48.   Pursuant to Exhibit A to the Certification, certain of the Defendants received the

following payments:



                                                -9-
               Case 19-50256-BLS       Doc 1     Filed 06/03/19     Page 10 of 15




               a.    Defendant Goodyear received $41,115.33 on account of its administrative
                      claim under 11 U.S.C. § 503(b)(9) claim (Claim No. 446);

               b.    Defendant Action received $6,818.30 on account of its § 503(b)(9) claim
                      (Claim No. 211);

               c.    Defendant Irving Oil received $126,803.09 on account of its § 503(b)(9)
                      claim (Claim No. 234);

               d.    Defendant Hartford received $8,562.61 on account of its administrative
                      claim (Claim No. 237);

               e.    Defendant Illuminating received $7,251.92 on account of is administrative
                      claim (Claim No. 468);

               f.    Defendant Pitney Bowes received $3,393.25 on account of its
                      administrative claim (Claim No. 1146);

               g.    Defendant Scotsman received $804.23 on account of its administrative
                      claim (Claim No. 1225); and

               h.    Defendant Sungard received $36,856.00 on account of its administrative
                      claim (Claim No. 34)

         49.   Some or all of the $1,471,718.35 difference between the $2,000,000 paid to

establish the Administrative Fund and the $528,281.65 specifically identified to be paid pursuant

to the Approval Order and Exhibit A to the Certification was distributed to, inter alia, Estate

Professionals in payment of their previously awarded chapter 11 administrative claims. See

Settlement Motion ¶ 15 (Administrative Claim Fund was to be used to pay all “unpaid

professional fees, as well as all allowed 503(b)(9) Claims and Admin taxes”).

         50.   The specific amounts of the Administrative Fund distributed to each Estate

Professional were not listed in the Debtors’ monthly operating reports.

         51.   On September 9, 2014, the Bankruptcy Court closed the Debtors’ bankruptcy

cases.




                                              - 10 -
              Case 19-50256-BLS        Doc 1    Filed 06/03/19     Page 11 of 15




      D.       Initial Affirmances on Appeal and then Ultimate Vacatur of the
               Approval Order

       52.     On appeal, the District Court affirmed the Approval Order. See Czyzewski v.

Jevic Holding Corp. (In re Jevic Holding Corp.), 2014 WL 268613 (D. Del. Jan. 24, 2014).

       53.     The WARN Plaintiffs appealed to the United States Court of Appeals for the

Third Circuit (the “Third Circuit”), which affirmed the decision of the District Court in 2015.

See Official Comm. of Unsecured Creditors v. CIT Grp. Bus. Credit Inc. (In re Jevic Holding

Corp.), 787 F.3d 173 (3d Cir. 2015).

       54.     In 2016, the Supreme Court of the United States (the “Supreme Court”) granted

certiorari to hear the WARN Plaintiffs’ appeal. See Czyzewski v. Jevic Holding Corp., 136 S.

Ct. 2541 (2016). On March 22, 2017, the Supreme Court issued an opinion (7-2) and order

reversing the Third Circuit’s decision and remanding the case to the Third Circuit for further

proceedings. See Czyzewski v. Jevic Holding Corp., 137 S. Ct. 973, 987 (2017) (“The judgment

of the Court of Appeals is reversed, and the case is remanded for further proceedings consistent

with this opinion.”).

       55.     On May 9, 2017, the Third Circuit vacated its 2015 opinion and remanded the

case to the District Court. See Official Comm. of Unsecured Creditors v. CIT Group/Bus. Credit

Inc. (In re Jevic Holding Corp.), 688 Fed. Appx. 166 (3d Cir. 2017).

       56.     On May 12, 2017, the District Court issued an order vacating the Approval Order

and remanding the case to the Bankruptcy Court for further proceedings.

       57.     On May 17, 2017, the Bankruptcy Court reopened Jevic Holding’s bankruptcy

case and converted it to Chapter 7. On October 10, 2018, the Court reopened the remaining

Debtors’ bankruptcy cases and converted them to Chapter 7.




                                             - 11 -
               Case 19-50256-BLS          Doc 1     Filed 06/03/19    Page 12 of 15




                                              COUNT I
                           (Declaratory Relief Against All Defendants)

         58.    CIT incorporates by reference the allegations set forth in paragraphs 1 through 57

above.

         59.    As the Approval Order has been vacated, there was (and is) no authority for the

Debtors to enter into, or consummate, the Settlement Agreement.

         60.    As the Approval Order has been vacated, CIT had (and has) no obligation to fund

the Administrative Fund.

         61.    As the Approval Order has been vacated, the Debtors had (and have) no interest

in the Administrative Fund or the funds that were distributed therefrom to the Defendants.

         62.    As the Approval Order has been vacated, the Administrative Fund was (and is)

not property of the Debtors’ estates.

         63.    As the Approval Order has been vacated, there effectively was (and is) no basis

upon which to distribute the Administrative Fund to the Defendants.

         64.    As the Approval Order has been vacated, the Defendants had (and have) no right

to receive or retain any distribution from the Administrative Fund.

         65.    As the Approval Order has been vacated, CIT is the only entity with an interest in,

or right to, the funds disbursed from the Administrative Fund.

         66.    As the Approval Order has been vacated, to the extent any other entity has an

interest in, or right, to receive or retain the funds disbursed from the Administrative Fund, CIT’s

right to, and interest in, the funds disbursed from the Administrative Fund is superior to such

other entity’s right to, and interest in, such funds.

         67.    Upon reversal or vacatur of the Approval Order, CIT, as a party that relied upon

the Approval Order in funding the Administrative Fund, has the right to be put back as nearly as


                                                 - 12 -
               Case 19-50256-BLS          Doc 1     Filed 06/03/19     Page 13 of 15




may be possible in the economic position CIT would have occupied had the Approval Order not

been rendered.

        68.      Moreover, failing to restore the $2,000,000 paid by CIT, on behalf of itself and

the Lender Group, would be inequitable because CIT would have paid such amount to the

Debtors without receiving the releases that were to be provided to CIT (and the Lender Group) in

exchange for such payment.

        69.      Failing to restore the $2,000,000 paid by CIT, on behalf of itself and the Lender

Group, would be inequitable because CIT would have paid such amount to the Debtors, for the

benefit of administrative claimants, without receiving any consideration in exchange for such

payment.

       WHEREFORE, CIT seeks a declaratory judgment in favor of CIT and against each of the

Defendants providing that (i) CIT is entitled to recover from the Debtors and their estates the

$2,000,000 that CIT paid to the Debtors because the Approval Order has been vacated; (ii) CIT is

entitled to recover from each other Defendant the funds disbursed from the Administrative Fund

to such Defendant because the Approval Order has been vacated; (iii) CIT’s rights to recover

(a) the $2,000,000 that CIT paid to the Debtors and their estates and (b) the amounts distributed to

the other Defendants from the Administrative Fund, due to vacatur of the Approval Order, is

superior to any interest in, or right to, such funds that the Debtors, their estates, the Trustee, or

any Defendants may have or assert; (iv) CIT is entitled to recover from (a) the Trustee, the

Debtors and their estates, any amounts disbursed from the Administrative Fund that the Trustee

recovers, whether as a result of litigation, settlement, or otherwise, or (b) any further transferee of

such recovered funds; and (v) granting such further relief to CIT as is appropriate.




                                                 - 13 -
               Case 19-50256-BLS        Doc 1    Filed 06/03/19     Page 14 of 15




                                           COUNT II
               (Restitution Due to Unjust Enrichment - Against All Defendants)

         70.   CIT incorporates by reference the allegations set forth in paragraphs 1 through 57

above.

         71.   Restitution or disgorgement is an appropriate equitable relief upon setting aside or

vacating a settlement agreement. See In re Tribune Media Co., 799 F.3d 272, 283 (3d Cir.

2015).

         72.   CIT, and the Lender Group, conferred a benefit upon the Debtors, their estates,

and the other Defendants by funding the Administrative Fund with $2,000,000 in cash to pay

administrative claims when the Debtors and their estates had no funds to pay such claims.

         73.   A transfer or taking of property, in compliance with or otherwise in consequence

of a judgment that is subsequently reversed or avoided, gives the disadvantaged party a claim to

restitution as necessary to avoid unjust enrichment.

         74.   As alleged above, some or all of the difference between the $2,000,000 paid to

establish the Administrative Fund and the $528,281.65 specifically identified to be paid pursuant

to the Settlement Motion and Certification was distributed to, inter alia, Estate Professionals in

payment of their previously awarded chapter 11 administrative claims.

         75.   Each of the Defendants should be required to pay to CIT, for itself and the Lender

Group, the actual amounts that such Defendant received from the Administrative Fund.

         WHEREFORE, CIT demands judgment (I) awarding restitution in favor of CIT as

follows: (a) against the Debtors, their estates and the Trustee, in the amount of $2,000,000 that

CIT paid to the Debtors to fund the Administrative Fund; (b) against each of the other Defendants

in the amounts received by such Defendant pursuant to the Approval Order, including from (i) the

$528,281.65 specifically identified pursuant to the Approval Order and Exhibit A to the


                                              - 14 -
                Case 19-50256-BLS          Doc 1    Filed 06/03/19     Page 15 of 15




Certification, and (ii) the balance of $1,471,718.35 that was partly or entirely distributed to Estate

Professionals in payment of their previously awarded chapter 11 administrative claims and

(II) granting such further relief to CIT as is appropriate.

Dated: June 3, 2019                             Respectfully submitted,
       Wilmington, Delaware
                                                REED SMITH LLP

                                          By: /s/ Kurt F. Gwynne
                                              Kurt F. Gwynne (No. 3951)
                                              Jason D. Angelo (No. 6009)
                                              1201 Market Street, Suite 1500
                                              Wilmington, Delaware 19801
                                              Telephone: (302) 778-7500
                                              Facsimile: (302) 778-7575
                                              Email: kgwynne@reedsmith.com
                                                      jangelo@reedsmith.com

                                                Counsel for The CIT Group/Business Credit, Inc.,
                                                as agent for itself and the Lender Group




                                                 - 15 -
